     Case 3:13-cr-00276-B      Document 463         Filed 06/30/14      Page 1 of 1U.S.PageID
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                                                                                NORTHERN DISTRTCT OF TEXAS
                                                                                          FILED
                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF TEXAS                              JUN 3 0 2014
                                      DALLAS DIVISION
                                                                                 CLERK, U.S.~Jfl{ICT COURT
UNITED STATES OF AMERICA,                       §                                 By         ~
                                                §                                          Deputy
                                                §    3:13-CR-00276-P
v.                                              §
                                                §
NAM CHI NGUYEN (17)                             §
                                                §
                                                §


                     ORDER ACCEPTING REPORT AND RECOMMENDATION
                        OF THE UNITED STATES MAGISTRATE JUDGE
                              CONCERNING PLEA OF GUILTY

        After reviewing all relevant matters of record, including the Notice Regarding Entry of a

Plea of Guilty, the Consent ofthe defendant, and the Report and Recommendation Concerning Plea of

Guilty of the United States Magistrate Judge, and no objections thereto having been filed within fourteen

days of service in accordance with 28 U.S.C. § 636(b)(l), the undersigned District Judge is of the

 opinion that the Report and Recommendation ofthe Magistrate Judge concerning the Plea of Guilty is

 correct, and it is hereby accepted by the Court. Accordingly, the Court accepts the plea of guilty and

 Defendant is hereby adjudged guilty. Sentence will be imposed in accordance with the Court's

 scheduling order.

         SO ORDERED.

         Signed this 30th day of June, 2014.




                                                        UNITED STATES DISTRICT JUDGE
